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                                                                                  2011 Nov-09 PM 03:38
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

Alabama Gas Corporation,                  )
                       Plaintiff,         )
v.                                        )   CIVIL ACTION NO.:
                                          )   2:10-cv-1840-IPJ
Travelers Casualty and Surety             )
Company, et al.,                          )
                         Defendants.      )
                                          )

             ALAGASCO’S MOTION TO LIMIT THE EXPERT
               TESTIMONY OF KATHLEEN J. ROBISON

      Plaintiff Alabama Gas Corporation (“Alagasco”) hereby requests that the

Court limit the proposed testimony of Travelers’ second bad faith expert, Kathleen

J. Robison, because her testimony at deposition demonstrates that she lacks a

sufficient basis to opine on whether or not it is “debatable” if the Alabama

Supreme Court would consider a PRP Letter to be a “suit” triggering Travelers’

duty to defend. Additionally, Ms. Robison’s deposition testimony made clear that

she lacks a sufficient basis to opine that Travelers acted reasonably when it said it

could not determine its potential coverage obligations to Alagasco upon receipt of

the EPA’s Request for Information under section 104(e) of the Comprehensive

Environmental Response, Compensation and Liability Act, 42 U.S.C. § 9604(e), as

amended. Therefore, Alagasco respectfully requests that Ms. Robison’s testimony

be limited to the other issues reflected in her expert report regarding the timeliness
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and reasonableness of Travelers’ claims handling activities and the degree to which

those activities adhered to the company’s procedures.

      This 9th day of November, 2011.


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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed ALAGASCO’S MOTION TO LIMIT

THE EXPERT TESTIMONY OF KATHLEEN J. ROBISON with the Clerk of Court

using the CM/ECF system which will automatically send email notification of such

filing to the following attorneys of record:

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      Done this 9th day of November, 2011.


                                      /s/ REBECCA W. PRITCHETT
                                      REBECCA W. PRITCHETT
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